  Case 13-40671      Doc 37   Filed 01/16/14 Entered 01/16/14 14:20:38              Desc Main
                                Document      Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )              BK No.:     13-40671
BRIAN R DEHMER                             )
CYNTHIA A DEHMER,                          )              Chapter: 13
                                           )
                                                          Honorable Eugene Wedoff
                                           )
                                           )
              Debtor(s) )

                        ORDER MODIFYING THE AUTOMATIC STAY

        THIS CAUSE coming to be heard on the Motion of the Movant, PHH Mortgage Corporation,
the Court having jurisdiction and being advised in the premises, and due notice having been given:
 IT IS HEREBY ORDERED:
1. That the automatic stay heretofore entered is modified to the extent necessary to allow PHH
Mortgage Corporation to foreclose the mortgage on the property located at: 9131 New England Ave,
Morton Grove, IL 60053.
2. That Federal Bankruptcy Rule 4001(a)(3) is not applicable and PHH Mortgage Corporation may
immediately implement and enforce this order granting relief from the automatic stay.




                                                        Enter:


                                                                 Honorable Eugene R. Wedoff
Dated: January 16, 2014                                          United States Bankruptcy Judge

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